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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

RUTH CHAVIT,

Plaintiff,
Vs.

Case No.:

NOBLE HOUSE RETIREMENT OF
JACKSONVILLE, LLC a Florida
Limited Liability Company; and
RHONDA HATLEY, Individually,

Defendants. /

VERIFIED COMPLAINT & DEMAND FOR JURY TRIAL

COMES NOW the Plaintiff, RUTH CHAVIT (‘Plaintiff’), by and through the
undersigned counsel, and files this Complaint against Defendants, NOBLE HOUSE
RETIREMENT OF JACKSONVILLE, LLC, a Florida Limited Liability Company,
(“NOBLE HOUSE”); and RHONDA HATLEY, Individually (“SHATLEY”), (collectively
‘“Defendants”), and states as follows:

JURISDICTION

1, Jurisdiction in this Court is proper as this is a claim for wages brought
pursuant to the Fair Labor Standards Act, as amended (“FLSA”), 29 U.S.C. §201, et seq., to
recover unpaid back wages, overtime wages, an additional equal amount in liquidated
damages, and to recover reasonable attorneys’ fees and costs.

2. The jurisdiction of the Court over this controversy is proper pursuant to 28
U.S.C. §1331 as these claims arise under 29 U.S.C. §216(b).

3. Venue is proper in this Court because the Plaintiff resides within the District

and Defendant maintains business operations within the District.
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PARTIES
4. At all times material hereto, Plaintiff was and continues to be a resident of
Duval County, Florida.
5. At all times material hereto, Defendant NOBLE HOUSE was, and

continues to be a Florida Limited Liability Company. Further, at all times material hereto,
Defendant NOBLE HOUSE was, and continues to be, engaged in business in Florida, doing
business in Duval County.

6. Based on information and belief, at all times material hereto, Defendant

HATLEY is individual resident of Duval County, Florida.

7. At all times material hereto, HATLEY directed and operated NOBLE
HOUSE.
8. At all times material hereto, HATLEY regularly exercised the authority to:

(a) hire and fire employees of NOBLE HOUSE; (b) determine the work schedules for the
employees of NOBLE HOUSE; and (c) control the finances and operations of NOBLE
HOUSE.

9. By virtue of having regularly held and exercised the authority to: (a) hire
and fire employees of NOBLE HOUSE; (b) determine the work schedules for the
employees of NOBLE HOUSE ; and (c) control the finances and operations of NOBLE
HOUSE , HATLEY is an employer as defined by 29 U.S.C. 201 ef. seg.

10. Further, at all times material hereto, HATLEY was an Operations Director
for NOBLE HOUSE, acting in NOBLE HOUSE’s interest in directing the work of Plaintiff.

11. At all times material hereto, Plaintiff was an “employee” of Defendants

within the meaning of the FLSA.

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exempt employee.

23. Plaintiff did not have the ability to hire or fire employees, nor to set
schedules.
24. Furthermore, Plaintiff did exercise discretion to decisions with respect to

matters of significance to the Company.

25, From approximately January 2014 and continuing through July 2019,
Plaintiff worked in excess of sixty (60) or more hours, nearly every week as a caregiver.

26. Defendants failed to compensate Plaintiff at a rate of one and one-half times
Plaintiff's regular rate for all hours worked in excess of forty (40) hours in a single
workweek. Plaintiff should be compensated at the rate of one and one-half times Plaintiff's

regular rate for those hours that Plaintiff worked in excess of (40) hours per week as

required by the FLSA.
27. Defendant’s business underwent an audit by the Department of Labor
(“DOL”).

28. While Defendants contends that the DOL spoke with Plaintiff and
concluded Plaintiff was properly classified as exempt, Plaintiff never spoke with the
investigator about her job duties or responsibilities.

29. Undersigned counsel, prior to filing this action, requested that Defendants
provide any proof that the DOL had spoken with Plaintiff or conducted an actual analysis of
Plaintiff's position. However, Defendants refused to provide any documentation regarding

same! :

 

' Plaintiff's counsel offered Defendants the ability to enter into a Tolling Agreement to allow additional time to provide any evidence
in support of it contention that Plaintiff was properly classified as exempt. However, Defendants declined and indicated that it would
not cooperate in any pre-suit investigation, requiring Plaintiff immediately to file the complaint in order to avoid prejudice to her

statute of limitations.
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30. At all times material hereto, Plaintiffs day to day duties were caring for
residents.

31. At all times material hereto, Plaintiff's nametag states simply “Care Staff.”
See Exhibit A.

32. In June 2019, Defendants back-paid all hourly employees, but excluded
Plaintiff as a salaried employee.

33. Plaintiff questioned HATLEY regarding her unpaid overtime, but was told
she was not permitted to obtain overtime compensation because she was a salaried
employee.

34, In July 2019, Defendants changed Plaintiff's pay to an hourly rate.

35. Upon information and belief, many of the records concerning the number of
hours worked and amounts paid to Plaintiff are in the possession and custody of Defendants.

36. Defendants have violated Title 29 U.S.C. §207 from at least January 2014
and continuing through at least July 2019, in that:

a. Plaintiff worked in excess of forty (40) hours in one or more weeks
for the period of her employment with Defendants;

b. No payments, and provisions for payment, have been made by
Defendants to properly compensate Plaintiff at the statutory rate of one and one-half times
Plaintiff's regular rate for all hours worked in excess of forty (40) hours per workweek as
provided by the FLSA.

37. Defendants’ failure and/or refusal to properly compensate Plaintiff at the
rates and amounts required by the FLSA was willful, as Defendants knew, or reasonably

should have known, that Plaintiff was owed overtime compensation and had the same job
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duties as other non-exempt individuals in its employ who did get paid overtime.
38. Defendants refused and/or failed to properly disclose or apprise Plaintiff of
her rights under the FLSA.

COUNT TI
UNPAID OVERTIME WAGES

39. Plaintiff realleges and incorporates paragraphs | through 39 of the
Complaint as if fully set forth herein.

40. From at least January 2014 and continuing through July 2019,

Plaintiff worked in excess of forty (40) hours per week during one or more weeks of her
employment for which she was not compensated at the statutory rate of one and one-half
times Plaintiff's regular rate of pay.

41. Plaintiff was misclassified as an “exempt” employee, without having the
proper qualifications.

42. Plaintiff was and is entitled to be paid at the statutory rate of one and
one-half times Plaintiffs regular rate of pay for all hours worked in excess of forty (40)
hours.

43. Defendants’ actions were willful and/or showed reckless disregard for the
provisions of the FLSA as evidenced by their unlawful misclassification of Plaintiff's pay
as a “salaried” employee not entitled to overtime when her job duties were identical to
those of her non-exempt co-workers.

44. Defendants misclassified Plaintiff as “exempt” in order to only pay
Plaintiff exactly forty (40) hours per week, notwithstanding that Plaintiff worked sixty

(60) or more hours in nearly every week.
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45. Defendants have failed to properly disclose or apprise Plaintiff of
Plaintiffs rights under the FLSA.

46. Due to the intentional, willful, and unlawful acts of Defendants, Plaintiff
suffered and continues to suffer damages and lost compensation for time worked over
forty (40) hours per week, plus liquidated damages.

47. Plaintiff is entitled to an award of reasonable attorneys’ fees and costs
pursuant to 29 U.S.C. §216(b).

48. This complaint was translated to Tagalog for Plaintiff's review before

Plaintiff
WHEREFORE, Plaintiff requests a judgment entered in her favor and against
Defendants for actual and liquidated damages, as well as costs, expenses and attorneys’
fees and such other relief deemed proper by this Court.
JURY DEMAND
Plaintiff hereby demands a trial by jury on all issues so triable as a matter of right.

DATED this 2"4 day of December, 2019.

 

 

   

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EXHIBIT “A”
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